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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA




     UNITED STATES ex rel, EMILY           CV 17-8726 DSF (AFMx)
     ROE, et al.
          Plaintiffs,                      JUDGMENT

     v.

     STANFORD HEALTHCARE
     BILLING DEPARTMENT, et al.,
          Defendants.



       The Court having granted a motion to dismiss without leave to
     amend,

         IT IS ORDERED AND ADJUDGED that Relator take nothing, that
     the action be dismissed with prejudice as to Relator and without
     prejudice to the United States and the State of California, and that
     Defendant recover costs of suit from Relator pursuant to a bill of costs
     filed in accordance with 28 U.S.C. § 1920.



     Date: July 14, 2020                 ___________________________
                                         Dale S. Fischer
                                         United States District Judge
